               IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                         1:16-CR-64-MR-WCM

UNITED STATES OF AMERICA                  )
                                          )
v.                                        )              ORDER
                                          )
CALIPH DEVON MAYO,                        )
                                          )
                 Defendant                )
____________________________________      )

        This matter is before the Court regarding Defendant’s competency.

        A competency hearing was held on December 3, 2021. Assistant United

States Attorney John Pritchard appeared for the Government and attorney

Frank Abrams appeared with Defendant. At the conclusion of the hearing, the

undersigned found Defendant competent to proceed. This Order follows and

memorializes that ruling.

 I.     Relevant Procedural History

        On June 2, 2021, a petition was filed alleging that Defendant had

violated the terms and conditions of his supervised release (“Petition”).

Defendant made his initial appearance on the Petition that same day.

Preliminary revocation and detention hearings were scheduled for June 4,

2021.

        As described in that Order dated June 7, 2021, Defendant was removed

from the courtroom during his preliminary revocation hearing and probable



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cause was found as to all violations. An oral motion by defense counsel to

continue the detention hearing was allowed. Further, the Court advised that

it may consider the imposition of contempt sanctions against Defendant for his

conduct in open court on June 4, 2021, though held such proceedings in

abeyance at that time. Doc. 568.

      Also on June 7, 2021, defense counsel filed a motion requesting that a

psychiatric or psychological evaluation of Defendant be conducted and that a

hearing be held to determine if Defendant was competent. The Government

responded and concurred with the motion. Docs. 567, 569.

      On June 10, 2021, the undersigned granted Defendant’s motion and

committed Defendant to the custody of the Attorney General so that a

psychiatric or psychological evaluation could be performed. The Court noted

that, following resolution of the issue of Defendant’s competency, the previous

probable cause determination may be revisited, if appropriate. The detention

hearing was also held in abeyance pending the outcome of Defendant’s

competency – related matters. Doc. 570.

      On November 29, 2021, a Forensic Evaluation (“Evaluation”), which had

been prepared by Michael Coffman, Psy.D., Forensic Psychologist, at the

Federal Detention Center in Miami, Florida, was filed. Doc 587.

      As noted, a competency hearing was held on December 3, 2021.




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II.   Findings

      A. Competency

      In the Evaluation, Dr. Coffman states that “there is no objective evidence

that [Defendant] is currently experiencing the symptoms of a severe mental

disease or defect that would impair his rational and factual understanding and

ability to participate in his legal defense, should he choose to do so.” Therefore,

Dr. Coffman opines that Defendant “should be found competent to participate

in his legal proceedings.” Doc. 587 at 11.

      During the competency hearing, the Government urged the Court to

endorse the conclusions in the Evaluation and to find Defendant competent to

proceed. Defendant did not offer any evidence and did not contest the

competency opinion in the Evaluation.

      Having carefully reviewed the Evaluation and considered the positions

of the parties, the undersigned accepts the conclusions in the Evaluation and

finds that Defendant is not presently suffering from a mental disease or defect

rendering him mentally incompetent to the extent that he is unable to

understand the nature and consequences of the proceedings against him or to

assist properly in his defense.

      B. Other Matters

      In light of the Court’s finding of competency, the undersigned inquired

of the parties as to their positions on the issue of whether the previous



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determination of probable cause should be revisited. The Government

indicated that it did not believe that conclusion should be revisited. Defendant

likewise stated that he did not wish to be heard further on the issue of probable

cause.

      Hearings on the Government’s motion for detention and on the issue of

contempt, both of which had been held in abeyance previously, were scheduled

now that Defendant’s competency has been determined.

      IT IS THEREFORE ORDERED THAT:

      1. Defendant is DEEMED COMPETENT to participate in further

         proceedings in this matter.

      2. The Court’s previous determination of probable cause remains in

         place.



                             Signed: December 3, 2021




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